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  Jessica L. Brennan                           Kristin Renee Fournier
  Partner                                      Partner
  (973) 775-6120                               Direct Dial: +1 212 790 5342
  jessica.brennan@btlaw.com                    kfournier@kslaw.com




  VIA ELECTRONIC FILING

  April 28, 2025
  Honorable Michael A. Shipp, U.S.D.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Honorable Rukhsanah L. Singh, U.S.M.J
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Re:      J&J Defendants’ Response to Plaintiffs’ April 24, 2025
           Correspondence (ECF No. 33755)
           Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

         The J&J Defendants respectfully submit this response to Plaintiffs’ April 24,
  2025 correspondence (ECF No. 33755) regarding the proposed rule issued on
  December 27, 2024, titled Testing Methods for Detecting and Identifying Asbestos
  in Talc-Containing Cosmetic Products, 89 Fed. Reg. 105490 (the “Proposed Rule”).
         First, the Proposed Rule is, of course, just that: a Proposed Rule. It is not a
  final rule and it is not binding as a matter of federal administrative law. It will not
  become a final rule until after FDA completes its formal rulemaking process, which
  includes sufficiently addressing the public comments received by the close of the
  comment period on March 27, 2025. Thus far, FDA has not done that. Therefore,
  there is no change in “current policy of the FDA” and the Proposed Rule is not
  relevant to this Court’s adjudication of the issues before it. See, e.g., Yocum v.
  United States, 66 Fed. Cl. 579, 590 (Fed. Cl. 2005) (“[I]n general, proposed
  regulations have no legal force or effect until they become final.”); Tedori v. United
  States, 211 F.3d 488, 492 (9th Cir. 2000) (citation omitted) (noting that “proposed
  regulations carry no more weight than a position advanced on brief”); In re Murray
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  Energy Corp., 788 F.3d 330, 334 (D.C. Cir. 2015) (proposed rules do not “determine
  rights or obligations or impose legal consequences”). Indeed, in the most recent
  Johnson & Johnson trial, the court specifically excluded reference to the Proposed
  Rule for these very reasons. See Doomey v. Johnson & Johnson et al., Case No.
  21STCV47286, April 16, 2025 at 4718:25-4719:1 (“If you’re asking about the
  proposed rules by the FDA, ‘Isn’t it true that the proposed rules by the FDA . . .’
  what does that mean? It means nothing to me. Okay. So under 352, I would exclude
  it.”), attached hereto as Exhibit A.

        Second, if the Court does intend to consider the Proposed Rule, it should also
  consider the extensive record of comments critiquing it.
          For example, the United States Pharmacopeia (“USP”) submitted comments
  questioning the need for the Proposed Rule given that USP had incorporated recent
  “revisions and improvements to the USP Talc monograph as well as the new General
  Chapters <901> and <1901> that may address some of the limitations and
  shortcomings mentioned in the Proposed Rule.” See USP’s March 27, 2025
  Comments, attached hereto as Exhibit B. The USP has convened its USP Talc
  Expert Panels, comprised of experts from agencies including FDA, as well as experts
  from outside of the government, to perform an actual real-world study of various
  talc testing methodologies. Id. The purpose of the study was to establish empirically
  based recommendations for talc testing for more than a decade. Id. Based on that
  real-world study by testing experts, USP highlighted numerous disagreements with
  aspects of the Proposed Rule. USP noted that FDA provided no basis to support its
  assumption that transmission electron microscopy (“TEM”) will improve sensitivity
  above and beyond USP’s most recently revised USP Test for Asbestos that will
  become official this year. Id. USP also commented that the Proposed Rule’s method
  for determining whether a sample is positive “diverges from the current generally
  accepted TEM fiber counting procedures promulgated in certain United States laws
  and regulations, as well as in some international standard methods, including those
  used by the FDA’s referenced 200 samples…” Id.

         These critiques from USP are not an isolated example. The rulemaking record
  is replete with examples of significant concerns raised regarding the Proposed Rule.
  See, e.g., March 27, 2025 Comments from the National Association of
  Manufacturers, attached hereto as Exhibit C; March 27, 2025 Comments from the
  Consumer Healthcare Products Association, attached hereto as Exhibit D; March
  27, 2025 Comments from the Essential Minerals Association, attached hereto as
  Exhibit E; March 27, 2025 Comments from Advanced Medical Technology
  Association, attached hereto as Exhibit F; March 27, 2025 Comments from Dr. Shu-
  Chun Su, attached hereto as Exhibit G; March 27, 2025 Comments from RJ Lee
  Group, attached hereto as Exhibit H; March 27, 2025 Comments from Segrave
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  Technical Consulting, LLC, attached hereto as Exhibit I; and March 27, 2025
  Comments from Benchmark Risk Group, attached hereto as Exhibit J. To the extent
  that this Court entertains Plaintiffs’ request to supplement the record or take judicial
  notice of the Proposed Rule, J&J Defendants request that such record and judicial
  notice also include the materials attached hereto as Exhibits B-J.

         Third, should the Court grant Plaintiffs’ request concerning the Proposed
  Rule, J&J Defendants respectfully request the opportunity to introduce new peer
  reviewed scientific literature. This literature further advances the understanding that
  nonasbestiform minerals can be distinguished from asbestos and that such
  nonasbestiform minerals do not present the same health effects as asbestos. As one
  example, just this week Dr. Andrey Korchevskiy and Dr. Ann Wylie published a
  study in Inhalation Toxicology in which the authors developed an empirical metric
  called the “Dimensional Coefficient of Carcinogenicity (DCC)” to describe the
  mesotheliogenic potential of a population of particles based on Surface Areas and
  Widths. The Empirical Metric of Mesothelial Carcinogenicity for Carbon
  Nanotubes and Elongate Mineral Particles, Apr. 24, 2025, attached hereto as
  Exhibit K. They applied the DCC metric to a massive database of almost 250
  different mineral populations involving more than 570,000 unique particles to
  confirm that DCC data correlated with mesothelioma potency of in human
  epidemiological studies and the mesothelioma rates in laboratory animal studies
  using these specific particle populations. They concluded that this empirical metric
  “demonstrates that non-asbestiform datasets (based on a widely representative
  database used in our study) are negligible by their potential mesothelial
  carcinogenicity.” Id. at 16. This and other studies continue to advance the
  understanding that asbestos and nonasbestiform minerals do not present the same
  health effects. Therefore, methods such as those included in the Proposed Rule that
  fail to distinguish between these different types of particles have no scientific or
  public health basis, and recent scientific literature addressing these issues should
  also be presented to place the problems associated with the Proposed Rule in proper
  context.

        Finally, on April 15, 2025 the Court issued an Order with a detailed agenda
  for an in-person status conference on June 17, 2025 in which a number of the
  motions that Plaintiffs seek to supplement are to be addressed. See ECF No. 33638.
  J&J Defendants understand that the Court wishes to limit the filing of motions and
  applications other than those that are routine. Id. As noted above, many scientific
  studies published during and after the Texas bankruptcy proceedings have continued
  to advance the understanding that asbestos and nonasbestiform minerals do not
  present the same health effects. Beyond this topic, there are many other significant
  developments that have come to light during this interval, including information
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  directly undermining the epidemiology that Plaintiffs’ experts rely upon, published
  critiques of the testing methodologies applied by Plaintiffs’ experts in this matter,
  and criticisms of the processes employed by regulatory bodies including IARC in
  evaluating issues related to talc. J&J Defendants believe that the Court should be
  apprised of these recent developments as it considers pending dispositive motions.
  However, J&J Defendants are honoring the Court’s request to limit the filing of non-
  routine motions and will raise these issues at the upcoming status conference on June
  17, 2025 as requested.

                                               Respectfully submitted,




                                               Kristen Renee Fournier
                                               KING & SPALDING LLP
                                               1185 Avenue of the Americas
                                               New York, New York 10036
                                               Tel.: 212-790-5342
                                               kfournier@kslaw.com

                                               /s/ Jessica L. Brennan
                                               Jessica L. Brennan
                                               BARNES & THORNBURG LLP
                                               67 E. Park Place, Suite 1000
                                               Morristown, NJ 07960
                                               Tel.: 973-775-6120
                                               jessica.brennan@btlaw.com

                                               Attorneys for Johnson & Johnson
                                               Defendants


  cc:    All Counsel of Record (via ECF)

  Enclosures: Exhibits A-K
